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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION


BERNARDINE BERINI,                        )
                                          )
                    Plaintiff,            )
                                          )
             vs.                          )         No. 4:04-CV-1379 CEJ
                                          )
FEDERAL RESERVE BANK OF                   )
ST. LOUIS, EIGHTH DISTRICT,               )
                                          )
                    Defendant.            )

                           MEMORANDUM AND ORDER

      This matter is before the Court on defendant’s motion to

dismiss Count II of plaintiff’s complaint.                  Plaintiff has filed a

memorandum in opposition to this motion, and the issues are fully

briefed.

      I. Background

      Plaintiff brings this action against her former employer,

Federal Reserve Bank of St. Louis, asserting claims relating to her

retirement.        In the amended complaint, plaintiff asserts claims

under the Age Discrimination in Employment Act (Count I)1 and § 510
                                                                                        2
of   the   Employee    Retirement   Income      Security       Act   (Count    II)

Defendant moves under Fed. R. Civ. P. 12(b)(1) to dismiss Count II

for lack of subject matter jurisdiction.

      Plaintiff was employed at the Federal Reserve Bank of St.

Louis from June 2, 1969 until April 1, 2004.                     At the time her

employment ended, she was a Specialist in the Expense Oversight



      1
          29 U.S.C. § 621, et seq.
      2
          29 U.S.C. § 1000, et seq.
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Unit of the Financial Management Department.                        Defendant is the

Reserve Bank for the Eighth Federal Reserve District with its

principal place of business in St. Louis, Missouri.                    The defendant

also supervises branch banks in Little Rock, Arkansas; Louisville,

Kentucky; and Memphis, Tennessee.

       ERISA was enacted to protect participants in employee benefit

plans “by requiring the disclosure and reporting to participants

and beneficiaries of financial and other information with respect

thereto, by establishing standards of conduct, responsibility, and

obligation for fiduciaries of employee benefit plans, and by

providing for appropriate remedies, sanctions, and ready access to

the Federal courts.”       29 U.S.C. § 1001.            Title I of ERISA, § 510

states that:

       It shall be unlawful for any person to discharge, fine,
       suspend, expel, discipline, or discriminate against a
       participant or beneficiary for exercising any right to
       which he is entitled under the provisions of an employee
       benefit plan, this subchapter, section 1201 of this title
       ... or for the purpose of interfering with the attainment
       of any right to which the participant may become entitled
       under the plan....

29 U.S.C. § 1140.     Plaintiff claims a violation of § 510, alleging

that   defendant   discriminated          against      her    for    the    purpose   of

interfering    with    her     rights       as    an    employee       benefit     plan

participant.

       The provisions of Title I of ERISA, including § 510, do not

apply to government plans.         29 U.S.C. § 1003(b)(1).                 A government

plan is defined as: "a plan established or maintained for its

employees by the Government of the United States, by the government


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of any State or political subdivision thereof, or by any agency or

instrumentality of any of the foregoing."                29 U.S.C. § 1002(32).

       The defendant moves for dismissal of Count II, arguing that it

is an instrumentality of the federal government and, therefore, its

employee benefit plan is not subject to the provisions of § 510 of

Title I of ERISA.       Plaintiff counters that the federal reserve bank

is not a federal instrumentality for purposes of ERISA, and thus is

not exempt under the “governmental plan” language.

       II. Discussion

       The specific question of whether the employee benefit plans

maintained by the Federal Reserve System are government plans for

the purposes of Title I of ERISA is one of first impression.

Because a government plan is one maintained by an agency or

instrumentality, any analysis must focus on those terms, which are

not defined by ERISA.

       The    Supreme    Court    has     defined,      generally,      what     might

constitute       an      instrumentality:          "A        typical     government

instrumentality . . . is created by an enabling statute that

prescribes the powers           and duties of the instrumentality, and

specifies that it is to be managed by a board selected by the

government in a manner consistent with the enabling law."                        First

National City Bank v. Banco Para El Comercio Exterior de Cuba, 462

U.S.   611,    624    (1983).    The    Court    also    distinguished         between

instrumentalities and agencies: "These distinctive features permit

government instrumentalities to manage their operations on an

enterprise     basis     while    granting      them    a     greater    degree    of

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flexibility and independence from close political control than is

generally      enjoyed      by    government          agencies."           Id.    at   624-25.

Defendant argues that although it is not an agency, it is an

instrumentality of the federal government and thus exempt from

Title I of ERISA.

       The Federal Reserve Act established the federal reserve banks

as part of the Federal Reserve System in 1913. 12 U.S.C. § 221 et

seq.     The preamble to the Federal Reserve Act states that its

purpose is to “provide for the establishment of Federal Reserve

Banks,    to   furnish      an     elastic       currency,        to   afford      means     of

rediscounting     commercial         paper       to    establish       a    more   effective

supervision      of   banking       in   the      United    States,         and    for   other

purposes.”     Federal Reserve Act, Ch. 6, 38 Stat. 251, (1913).                           The

system consists of twelve federal reserve banks and a Board of

Governors.      Members of the Board are appointed by the President

with the advice and consent of the Senate.                        12 U.S.C. § 241.         The

Board    oversees     the    federal      reserve        banks     and      has    additional

enumerated powers to control the operations of the banks.                                See 12

U.S.C. § 248.

       Each federal reserve bank is managed by a nine-member board of

directors, three of whom are appointed by the Board of Governors.

12 U.S.C. § 302.       National banks are required to become members of

the Federal Reserve System by “subscribing and paying for stock in

the Federal Reserve bank of its district.”                        12 U.S.C. § 222.          By

statute, members receive only a six percent dividend annually on

their stock.      12 U.S.C. § 289(a)(1)(A).

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     Because the federal reserve banks are individually managed by

separate boards of directors and their stock is privately held, it

might be argued that the banks are privately owned.                 As one court

has explained, however,

     Because of this low statutory dividend and, more
     importantly, because banks which are members of the
     Federal Reserve System are required to subscribe to the
     stock of the Federal Reserve Bank in whose district they
     are located, it appears that the stock of Federal Reserve
     Banks, unlike stock in a private corporation, is not
     acquired for investment purposes. Further, because member
     banks are required to subscribe and because the Board has
     ultimate control over the operations of each Federal
     Reserve Bank, stock in Federal Reserve Banks, unlike
     stock in a private corporation, is seemingly not acquired
     for purposes of control. Rather, such stock is acquired
     because its "ownership" is "a condition of membership in
     the Federal Reserve System."

Lee Const. Co., Inc. v. Federal Reserve Bank of Richmond, 558 F.

Supp. 165, 177 n.17 (D. Md. 1982),                 citing 4 F. Solomon, W.

Schlicting, T. Rice & J. Cooper, Banking Law § 77.02, at 77-6 to

77-7 (1982).

     The federal reserve banks appear to conform to the general

description of instrumentalities as stated in First National City

Bank.   They were established directly by Congressional legislation

for the   public    purpose   of   increased        control    of   the   nation’s

currency and banking system. Although they are independently owned

corporations, they exist only by virtue of the enabling statute and

possess only the powers granted by the legislation.                 The banks are

supervised by an entity that bears the hallmarks of an agency, in

that the Board is subject to more direct political control via the

Presidential appointment of its members.



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       In   several   cases,     courts    have    discussed     whether    federal

reserve banks are instrumentalities of the federal government.                    In

Federal Reserve Bank of St. Louis v. Metrocentre Improvement

District, the Eighth Circuit held that federal reserve banks were

federal instrumentalities.              657 F.3d 183, 186 (8th Cir.           1981)

(also noting consistency of this holding with other circuits).                    As

a result,      the federal reserve bank was not subject to special

assessments by state and local governments.

       Likewise, although only in dicta, the First Circuit stated

that   federal   reserve        banks    were   “plainly”     instrumentalities.

Federal Reserve Bank of Boston v. Comm’r of Corporations and

Taxation, 499 F.2d 60, 62 (1st Cir. 1974).              The court held that for

the purposes of distinguishing the federal reserve banks from

federal savings and loans, which could not on their own obtain a

federal court declaration against state taxes, the “reserve banks,

by contrast, are plainly and predominantly fiscal arms of the

federal government.”       Id.

       The Ninth Circuit found that an employee of a federal reserve

bank was a government official for the purposes of a criminal

statute forbidding bribery of “any federal government employee or

any person ‘acting for or on behalf of the United States, or any

department, agency, or branch of Government thereof [].’”                   U.S. v.

Hollingshead, 672 F.2d 751, 753 (9th Cir. 1982). In discussing the

governmental     nature    of    the    federal    reserve    banks,    the   court

recognized the “substantial federal government involvement through

control by the Federal Reserve Board” and the fact that “the

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federal reserve banks were clearly created for federal objectives.”

Id. at 754.

     In apparent contrast, the Ninth Circuit also held that federal

reserve banks are not federal instrumentalities for the purpose of

the Federal Tort Claims Act.        Lewis v. United States, 680 F.2d 1239

(9th Cir. 1982).     The plaintiff in that case had been injured by a

vehicle owned by the Federal Reserve Bank of San Francisco.                      The

FTCA created liability for the negligent acts of employees of

federal agencies, and the FTCA defined “agencies” to include

“corporations acting primarily as instrumentalities of the United

States.”    Id. at 1240, quoting 28 U.S.C. § 2671.               The Lewis court

distinguished     Hollingshead,     reasoning        that    while    the   “public

official” test turned on whether there was substantial federal

involvement in the employing entity, federal liability under the

FTCA “is narrowly based on traditional agency principles and does

not necessarily lie when the tortfeasor simply works for an entity,

like the Reserve Banks, which perform important activities for the

government.”     Lewis, 680 F.2d at 1242.

     Although in each of the above cases the courts found that the

federal reserve banks were instrumentalities of the government, it

must be noted that those findings were made outside the context of

ERISA.   Whether the same finding should apply in this case depends

on interpretation of ERISA itself.                As in the foregoing cases,

courts     and   agencies   which    have      interpreted      the    meaning    of

“instrumentality” to decide whether various entities are covered by

ERISA have also focused on the entity’s purpose and the degree to

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which the entity is connected with the state or federal government.

To this end, defendant and plaintiff advocate the use of different

tests for whether ERISA applies to an employee benefit plan.

     Defendant urges the Court to apply the test used in Rose v.

Long Island Pension Plan, 828 F.2d 910 (2d Cir. 1987).                    In Rose,

the court had to decide whether a pension plan established by the

Long Island Railroad was a governmental plan for purposes of Title

I of ERISA.       The court looked to a test used by the Internal

Revenue service, explaining that “the Internal Revenue Service ...

has had occasion to define ‘agency or instrumentality’ under 26

U.S.C. § 414(d).        That section was added to the Internal Revenue

Code by Title II of ERISA and defines those ‘governmental plans’

which    are   exempt   from   certain      qualification      requirements      for

favorable tax treatment.”         Id. at 917.         The IRS’s interpretation

was relevant to the interpretation of “agency or instrumentality”

in Title I of ERISA        because the two sections use almost identical

language to define governmental plans.3

     To interpret the § 414(d) exemption, the IRS had consistently

relied on a revenue ruling which listed six factors relevant to the



     3
        Title II of ERISA states that: “For purposes of this
part, the term ‘governmental plan’ means a plan established and
maintained for its employees by the Government of the United
States, by the government of any State or political subdivision
thereof, or by any agency or instrumentality of any of the
foregoing.” 26 U.S.C. § 414(d).
     Title I of ERISA states that: “The term ‘governmental plan’
means a plan established or maintained for its employees by the
Government of the United States, by the government of any State
or political subdivision thereof, or by any agency or
instrumentality of any of the foregoing.” 29 U.S.C. § 1002(32).

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determination     of       whether     an      entity    was     an    agency     or

instrumentality:

     In cases involving the status of an organization as an
     instrumentality of one or more states or political
     subdivisions, the following factors are taken into
     consideration: (1) whether it is used for a governmental
     purpose and performs a governmental function; (2) whether
     performance of its function is on behalf of one or more
     states or political subdivisions; (3) whether there are
     any private interests involved, or whether the states or
     political subdivisions involved have the powers and
     interests of an owner; (4) whether control and
     supervision of the organization is vested in public
     authority or authorities; (5) if express or implied
     statutory or other authority is necessary for the
     creation and/or use of such an instrumentality, and
     whether such authority exists; and (6) the degree of
     financial autonomy and the source of its operating
     expenses.

Rev. Rul. 57-128, 1957-1 C.B. 311.             The Rose court applied the test

from Rev. Rul. 57-128 and found that the Long Island Railroad was

sufficiently connected with state government to be considered an

instrumentality for the purposes of Title I of ERISA.                    Rose, 828

F.2d at 918.

     Plaintiff relies on Alley v. Resolution Trust Corp., 984 F.2d

1201 (D.C. Cir. 1993), in which the court ruled that the Federal

Asset Disposition Association (FADA) was not an instrumentality for

the purposes of Title I of ERISA.              Although the parties cited the

Rose factors, the D.C. Circuit “[did] not find the Rose criteria

the most helpful guide.”             Instead, the court focused on “what

should be the core concern for ERISA purposes - the nature of an

entity’s relationship to and governance of its employees.”                   Id. at

1206 n.11.      The court found that ERISA’s legislative history

evinced   Congress’s       intention      to   exempt    governmental     employee

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benefit schemes from coverage.             The court, however, found “no

indication that Congress meant the governmental plan exemption to

reach an entity that relates to its employees as would a private

business - an entity whose employees are not subject to laws

governing public employees generally.” Id. at 1206. Acknowledging

that FADA was operated “under federal agency (FSLIC) auspices” and

that it had “an undeniable public coloration,” Id. at 1202, 1205,

the court queried whether FADA functioned like a governmental

organization or a private enterprise in its relationships with its

employees.     This inquiry led the court to conclude that FADA

“personnel far more closely resembled private sector employees than

they did government workers.”          Id. at 1206.        Thus, the court held

that FADA’s employee benefit plains were not exempt from ERISA.

Id. at 1207.

     Plaintiff argues that the analysis used by the court in the

Alley case should produce the same conclusion here. She emphasizes

that the employees of the federal reserve banks do not participate

in the Federal Employee Retirement System, nor do they have the

protections afforded by the civil service system.4                     The Court

believes that because of significant distinguishing factors, Alley

does not command the same conclusion.

     The Alley court focused on the employment relationship between

FADA and its employees only after acknowledging that FADA was


     4
       In fact, the Federal reserve banks have a statutory right
to terminate employees at will. See 12 U.S.C. § 341 Fifth; see
also Mele v. Federal Reserve Bank of New York, 359 F.3d 251, 255
(3d Cir. 2004).

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ambiguously    located     on   a   spectrum     of   entities,     ranging    from

obviously public to obviously private.                See Alley, 984 F.2d at

1205, 1206 n.11 (“[C]ertain of FADA’s features would not be found

in a Standard Field Guide to Governmental Entities .... [O]ne could

argue long and hard about FADA’s score under the Rose test.”).5

The court     considered    the     issue   without     the   benefit    of   other

judicial or administrative decisions clearly identifying FADA as an

instrumentality.    Thus, the court looked beyond the plain language

of the statute only after the acknowledging the difficulty in

determining whether FADA was clearly an instrumentality under 29

U.S.C. § 1002(32).    There is no such ambiguity with respect to the

federal reserve bank.

     FADA was established by a federal agency, the Federal Home

Loan Bank Board, to “bring private-sector efficiency to FSLIC’s

efforts to dispose of the assets of failed savings and loan

institutions.”    Alley, 984 F.2d at 1202.            In contrast, the federal

reserve banks were established by Congress for the purpose of

helping to regulate the nation’s monetary system, and they are

subject to the oversight of a Presidentially-appointed Board of

Governors.     See Federal Reserve Act, 12 U.S.C. § 221 et seq.

Although the stock of the federal reserve banks is held by private

banks, those member banks “lack the powers and rights customarily



     5
       Indeed, one of the factors mentioned by the court as
weighing heavily towards characterizing FADA as a private entity
was that it had to pay federal and state taxes, taxes from which
the federal reserve banks are exempt. See Alley, 984 F.2d at
1205; 12 U.S.C. §531.

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vested in shareholders of a private corporation.”                 Federal Reserve

Bank of Boston v. Comm’r of Corporations and Taxation, 499 F.2d 60,

62 (1st Cir. 1974).       The banks are not funded directly by Congress,

but    any    income   generated   by    the    banks’      activities    (above    a

statutory six percent return to the shareholders) is paid into a

surplus fund, and annually returned to the federal Treasury.                     Id.

at 63; see also 12 U.S.C. § 289(a).                    By a preponderance of

authority, including Eighth Circuit case law and interpretations by

the Internal Revenue Service, the federal reserve bank has been

classified as an instrumentality.            See Federal Reserve Bank of St.

Louis v. Metrocentre Improvement District, 657 F.3d 183, 186 (8th

Cir.       1981); Federal Reserve Bank of Boston, 499 F.2d 60, 62; U.S.

v. Hollingshead, 672 F.2d 751, 753 (9th Cir. 1982).

       Furthermore, following Alley in this instance would mean that

the federal reserve banks are instrumentalities under ERISA for

purposes of Title II, but not for purposes of Title I.                      Shortly

after ERISA was enacted, the IRS was asked by the Board of

Governors to decide whether the Federal Reserve System’s plans were

exempt from ERISA coverage.6        The IRS considered whether the plans

were “governmental plans” and concluded that “[t]he Federal Reserve

System is an instrumentality of the United States for the purposes




       6
       Originally, the Board had requested a joint opinion from
the Department of Labor regarding the application of Title I to
the employee benefit plans, but in the interests of an expedited
ruling, the Board later asked the IRS to restrict the ruling to
Title II of ERISA.

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of § 414(d) of the Code,” and the plans were therefore exempt.                        See

Def.’s Mot. to Dismiss, Ex. J, p. 2.

       The Rose test and its reliance on Revenue Ruling 57-128

appropriately reflect the factors considered by other courts when

analyzing the degree of connection between the federal government

and the purported instrumentality.                   Applying the factors in the

Revenue Ruling cited in Rose, it is clear that (1) the federal

reserve      banks    perform     the   important       governmental      function     of

furthering national fiscal policy, (2)                     the banks perform their

functions on behalf of the federal government; (3) the private

interests that are involved do not have the typical interests of an

owner; (4) control and supervision of the federal reserve banks is

vested in a Board of Governors appointed by the President with the

advice and consent of the Senate; (5) express statutory authority

created      the     Federal    Reserve       System,    including      the   Board    of

Governors and the twelve member banks; and (6) although the federal

reserve banks have a degree of financial autonomy, the United

States Treasury is the beneficiary of excess revenue and any assets

remaining after payment of debts in the event of dissolution.                          12

U.S.C. § 290.

       Plaintiff also argues that the IRS has issued a more pertinent

list    of    factors      by     which       to    classify     an   entity     as    an

instrumentality in Revenue Ruling 89-49, 1989-1 C.B. 117.                             The

factors listed are similar to the factors in Rev. Rul. 57-128, with

the exceptions that Rev. Rul. 89-49 focuses on the degree of

everyday control that the governmental unit has over the entity in

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question and considers whether the employees of the entity are

treated as government employees.7

      Rev. Rul. 89-49 discussed whether a volunteer fire company,

established jointly by several municipalities, was an agency or

instrumentality of a state for the purposes of the § 414(d)

exemption.        The IRS found that the municipalities exerted only

minimal control over the fire company, the trustees who ran the

company were elected by the volunteers, the expenses were partially

paid for     by    community      donations,           and     the   employees    were      not

considered to be state employees.                     Considered cumulatively, these

factors meant that the volunteer fire department was not an agency

or instrumentality of the state.                  However, the IRS also cautioned

that “[a]lthough         all    of     the      above    factors      are   considered       in

determining whether an organization is an agency of a government,

the   mere   satisfaction         of      one    or     all    of    the   factors    is    not

necessarily determinative.” Rev. Rul. 89-49, 1989-1 C.B. 117. The

test offered here may be relevant, but it provides no more bright

line guidance than does the test endorsed by Rose.

      Even if the test in Revenue Ruling 89-49 were applied here,

the federal reserve banks would be deemed instrumentalities.                                The

IRS   stated      that   “[o]ne      of    the    most        important     factors    to    be

considered ... is the degree of control that the federal or state

government has over the organization’s everyday operations.”                               Rev.



      7
       Plaintiff has not pointed to any authority discussing the
utility of Rev. Rul. 89-49 in an analysis of instrumentalities
generally or in the context of Title I of ERISA.

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Rul. 89-49, 1989-1 C.B. 117.             Although the federal reserve banks

are independently managed corporations, they are all subject to the

oversight of the Board of Governors.                   The Board has the power to

“suspend or remove any officer or director of any Federal reserve

bank” and to “suspend ... the operations of any Federal reserve

bank, to take possession thereof, administer the same during the

period of suspension.” 12 U.S.C. § 248 (f), (h).                      The Board must

also conduct an annual audit of each Reserve Bank.                         12 U.S.C. §

248(b).      There is little similarity between the banks and the

subject      of   Revenue   Ruling    89-49,       a     volunteer        fire    company

established under the state’s nonprofit corporation statute and

subject to the exclusive control of the board of trustees elected

by the volunteer firefighters.

       The   first   factor    in    Rev.       Rul.    89-49      asks    whether      the

organization was established by specific legislation.                            Specific

legislation was a factor regarding the federal entity at issue in

Alley, as well: there, FADA was created by an agency, and not

directly by Congress.       See Alley, 984 F.2d at n.2.               The presence of

specific      legislation     creating      the        entity    indicates       that     a

legislature established the entity to further an identified policy,

thus    supporting      the    inference          that       the     entity       is     an

instrumentality.       See First National City Bank v. Banco Para El

Comercio Exterior de Cuba, 462 U.S. 611, 624 (1983).                        The federal

reserve banks, of course, were created directly by Congress.                            The

attenuated connection that seems to be problematic in Alley and in

Rev. Rul. 89-49 is absent.

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      Revenue Ruling 89-49, like Alley, considers whether employees

of   the   entity    are      treated      as   employees      of     the    government.

Plaintiff’s argument advocates this factor as the dispositive

inquiry, but the Court cannot agree.                     Congress did not define

“governmental plan” by reference to the status of employees; it

simply     stated    that     a   plan      established        by     “any   agency   or

instrumentality” of “the Government of the United States” was a

governmental plan and thus exempt.

      Independence from the civil service system and other direct

government oversight does not necessarily imply that the entity is

not an instrumentality.           See, e.g., Federal Reserve Bank of Boston

v. Commissioner of Corporations and Taxation of the Commonwealth of

Massachusetts, 499 F.2d 60, 63-64 (1st Cir. 1974) (“It would seem

that Congress intended all               components of the Federal Reserve

System, including the banks, to act in many respects outside the

executive chain of command, although their greater independence in

no   way    signals       a   diminished          role   in     the    operations     of

government.”).           Thus, while the status of employees may be a

consideration       in    the absence of other indicia of legislative

intent, it does not control here.                  Consequently, analysis of the

factors in Rev. Rul. 89-49 compels the conclusion that the federal

reserve bank is an instrumentality.

      Plaintiff tries to draw support from decisions holding that

the federal reserve bank is not an agency.                    This argument would be

relevant only if one reads the phrase “agency or instrumentality”

should as a single term, without regard to the disjunctive “or”

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that   separates    the   two   words.        Such   a     reading    would   render

“instrumentality” mere surplusage, and would go against the clear

weight of precedent.       See First National City Bank, 462 U.S. 611

(viewing agencies and instrumentalities as governmental entities

with distinct purposes); see also Scott v. Federal Reserve Bank of

Kansas City 406 F.3d 532, 535 (8th Cir. 2005) (“it is possible to

be a fiscal agent or instrumentality of the government without

being a federal agency”).

       Plaintiff also makes the point that the plans at issue are

actually established and maintained by the Federal Reserve System,

which consists of both the Board and the federal reserve banks, and

not by the banks themselves.        In contrast to the employees of the

banks, some Board employees are eligible to participate in the

Federal Employee Retirement System, and can transfer their service

credits to other agencies if they leave the Board.                   See Pl.’s Mem.

in Opp. at 19.        However, the banks are still subject to the

foregoing analysis for classification as instrumentalities.                        The

fact that there are some employees of the Federal Reserve System

who are clearly government employees in a direct sense does not

necessitate the conclusion that the remainder of the employees are

employed   by   a   private     entity.       The    status    of    the   banks   as

instrumentalities is not diminished by the more “agency-like”

character of the Board of Governors.

       For the reasons discussed above, the Court concludes that the

defendant is an instrumentality of the federal government, and,

hence, its employee benefit plans are government plans which are

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exempt from coverage under ERISA.               Therefore, the Court lacks

subject matter jurisdiction of plaintiff’s ERISA claim in Count II

of the complaint.

           Accordingly,

     IT IS HEREBY ORDERED that defendant’s motion [#40] to dismiss

Count II of plaintiff’s complaint is granted.

     IT IS FURTHER ORDERED that the claim in Count II is dismissed

for lack of subject matter jurisdiction.




                                            CAROL E. JACKSON
                                            UNITED STATES DISTRICT JUDGE


Dated this 20th day of December, 2005.




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